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                 UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT

                                       )
                                       )
CALEB BARNETT, et al.,                 )
                                       )
                                       )
              Plaintiffs-Appellees,    )   Nos. 23-1825; 23-1826
                                       )
              v.                       )
                                       )
KWAME RAOUL, Attorney General )
of Illinois, and BRENDAN F. KELLY, )
Director of the Illinois State Police, )
                                       )
              Defendants-Appellants.   )
                                       )

    PLAINTIFFS-APPELLEES’ RESPONSE TO DEFENDANTS-
  APPELLANTS’ EMERGENCY MOTION TO STAY THE DISTRICT
 COURT’S PRELIMINARY INJUNCTION ORDER PENDING APPEAL
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                                 INTRODUCTION

      While the framework for addressing bans on arms may not have been pellucid

when this Court decided Friedman v. City of Highland Park, 784 F.3d 406 (7th Cir.

2015), and Wilson v. Cook County, 937 F.3d 1028 (7th Cir. 2019), there is no longer

room for debate. The Supreme Court made clear last year “that the Second

Amendment protects the possession and use of weapons that are ‘in common use,’”

and that the relevant metric for that determination is not whether arms were common

at the Founding or “considered ‘dangerous and unusual’ during the colonial period,”

but whether they are “in common use today.” N.Y. State Rifle & Pistol Ass’n, Inc. v.

Bruen, 142 S.Ct. 2111, 2128, 2143 (2022) (emphasis added). One would think that

would have led Illinois to take stock of its existing prohibitions and ensure that they

are consistent with the test Bruen laid down. Instead, Illinois took the opposite

approach, rushing to usher in a sweeping new law that bans hundreds of models of

rifles, shotguns, and pistols that have been lawful in Illinois (and most other states)

for the better part of a century, and in some cases even longer. For good measure,

Illinois banned a wide swath of standard-issue ammunition feeding devices too.

      That effort is patently unconstitutional under Bruen. The firearms Illinois has

banned are not newfangled innovations that demand novel government intervention.

Semiautomatic rifles, shotguns, and pistols with the features Illinois has singled out

have been around for generations, as have ammunition feeding devices that hold



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more than 10 or 15 rounds. As recently as a few decades ago, it was common ground

that these ubiquitous arms are “lawful,” Staples v. United States, 511 U.S. 600, 612

(1994), and millions of law-abiding Americans continue to lawfully possess them

for lawful purposes today. Under Bruen, that is the end of the matter.

      The district court correctly recognized as much and granted Plaintiffs’

consolidated motions for a preliminary injunction. This Court has since temporarily

stayed that order, but it should not make that action permanent, as the state has not

come close to meeting its burden of showing that its law is consistent with historical

tradition. Instead, the state just resists the proposition that it bears any burden at all.

But Bruen speaks for itself, and it means what it says. Plaintiffs are therefore likely

to succeed on the merits, as the district court concluded after considering extensive

briefing and argument, and they should be allowed to exercise their constitutional

rights during the state’s appeal. And far from seeking to prolong this appeal,

Plaintiffs are eager—indeed, apparently far more eager than the state—to

expeditiously brief and argue it so that a final determination of HB 5471’s

constitutionality may be reached forthwith. The Court should accordingly deny the

state’s motion and reinstate the preliminary injunction, but in all events should

promptly issue a substantially expedited briefing schedule to ensure that Plaintiffs

have a full and fair opportunity to defend the relief they secured.




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                                 BACKGROUND
      Bruen plainly made it more difficult for the states to restrict the keeping and

bearing of firearms. Yet rather than view Bruen as a prompt to ensure that its existing

restrictions conformed with the Constitution, Illinois inexplicably deemed it an

occasion to enact new bans on the possession of common firearms that were long

lawful in Illinois (and elsewhere). Under HB 5471, it is now “unlawful for any

person within this State to knowingly manufacture, deliver, sell, import, or purchase

or cause to be manufactured, delivered, sold, imported, or purchased by another, an

assault weapon.” 720 ILCS 5/24-1.9(b). And come next year, it will be unlawful

even to “possess an assault weapon.” 720 ILCS 5/24-1.9(c).

      HB 5471 defines “assault weapons” exceedingly broadly. First, HB 5471 bans

any “semiautomatic rifle” with “the capacity to accept a detachable magazine” that

has “one or more of the following”: “a pistol grip,” “any feature capable of

functioning as a protruding grip that can be held by the non-trigger hand,” a folding

or telescoping stock, a “flash suppressor,” or a “shroud” (i.e., a forend). 720 ILCS

5/24-1.9(a)(1)(A). Second, HB 5471 bans “all AR type[]” rifles (“including” 43

named variants, such as the AR-15) explicitly, as well as all “copies, duplicates,

variants, or altered facsimiles with the capability of any such weapon.” 720 ILCS

5/24-1.9(a)(1)(J)(ii). Third, HB 5471 bans all semiautomatic shotguns with “one or

more of” a list of features similar to the list for semiautomatic rifles, including



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semiautomatic shotguns with “a pistol grip.” 720 ILCS 5/24-1.9(a)(1)(F). Fourth,

HB 5471 lists nearly 100 more rifles and deems them all—and any “copies,

duplicates, variants, or altered facsimiles with the capability of any such weapon”—

“assault weapons.” 720 ILCS 5/24-1.9(a)(1)(J). All in all, HB 5471 bans nearly a

thousand rifles and shotguns, including all of the most popular models.

       HB 5471 also defines “assault weapon” to include any semiautomatic pistol

“that has the capacity to accept a detachable magazine” and one of a list of features

similar to the features listed for rifles. 720 ILCS 5/24-1.9(a)(1)(C). It also bans any

“semiautomatic pistol that has a fixed magazine with the capacity to accept more

than 15 rounds.” 720 ILCS 5/24-1.9(a)(1)(D). And HB 5471 goes on to ban these

common pistols twice more: banning “all AR type[]” pistols (“including” 13 named

variants) and approximately 40 more semiautomatic pistol models by name; and

banning all “copies, duplicates, variants, or altered facsimiles with the capability of

any such weapon.” 720 ILCS 5/24-1.9(a)(1)(K). In a final catchall, “[a]ny firearm

that has been modified to be operable as an assault weapon as defined in this

Section,” plus any part that can convert any firearm into one, is an “assault

weapon[].” 720 ILCS 5/24-1.9(a)(1)(H)-(I). 1

       In addition to banning many of the most common firearms in America, Illinois



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     The already-long list of banned arms is not static: The State Police can add to
it annually. 720 ILCS 5/24-1.9(d)(3).

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now bans any magazine with “a capacity of … more than 10 rounds of ammunition

for long guns and more than 15 rounds of ammunition for handguns,” which HB

5471 dubs a “large capacity ammunition feeding device.” 720 ILCS 5/24-1.10(a)(1).

Current owners may continue to possess now-prohibited arms and magazines, but

only subject to onerous restrictions. 720 ILCS 5/24-1.9(d); 720 ILCS 5/24-1.10(d).

      Plaintiffs-Appellees challenged HB 5471 as a clear violation of the Second

Amendment as recently clarified in Bruen and sought a preliminary injunction. After

considering extensive briefing and argument, the district court granted that relief.

The state moved the district court for a stay mere hours later—albeit not on an

emergency basis—and then sought the same relief from this Court before Plaintiffs-

Appellants had even responded. Before Plaintiffs-Appellants had the opportunity to

respond to that motion either, this Court temporarily stayed the injunction via a

single-judge order.

                                    ARGUMENT
      A stay pending appeal is an extraordinary remedy that should issue only in

exceptional circumstances. Classic Components Supply, Inc. v. Mitsubishi Elecs.

Am., Inc., 841 F.2d 163, 165 (7th Cir. 1988). That is especially true when the order

sought to be stayed is a preliminary injunction, as the court is essentially being asked

to second-guess on truncated briefing the same factors the district court considered

after full briefing and argument. The party seeking a stay must show “it has a



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 significant probability of success on the merits[ and] that it will face irreparable harm

 absent a stay; and that a stay will not injure the opposing party and will be in the

 public interest.” Hinrichs v. Bosma, 440 F.3d 393, 396 (7th Cir. 2006). The state

 has not made and cannot make that showing here.

I.     The State Identifies No Viable Basis To Disturb The District Court’s
       Conclusion That Plaintiffs Are Likely To Succeed On The Merits.

       A.     Bruen Abrogates This Court’s Decisions in Friedman and Wilson.
       When this Court first confronted a ban on “assault weapons” and a magazine

 capacity restriction without the benefit of Bruen, it analyzed their constitutionality

 by asking, first, whether they “ban[ned] weapons that were common at the time of

 ratification or those that have ‘some reasonable relationship to the preservation or

 efficiency of a well regulated militia,’” and, second, whether they left law-abiding

 citizens with “adequate means of self-defense.” Friedman, 784 F.3d at 410-12. The

 next time the Court confronted such restrictions, it “first ask[ed] whether the

 restricted activity is protected by the Second Amendment,” and then “inquire[d]

 whether the strength of the government’s reasons justifies the restriction of rights at

 issue.” Wilson, 937 F.3d at 1036. Neither analysis survives Bruen.

       At the outset, Bruen expressly repudiated any “two-step” mode of analysis

 that balances “the strength of the government’s reasons” for restricting activity

 protected by the Second Amendment. See Bruen, 142 S.Ct. at 2127. Under Bruen,

 it is not twenty-first-century policy concerns, but “the traditions of the American


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people [] that demand[] our unqualified deference.” Id. at 2131. Accordingly, so

long as “the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct,” and the state must “affirmatively

prove that its firearms regulation is part of the historical tradition that delimits the

outer bounds of the right to keep and bear arms.” Id. at 2126-27. There is no longer

any room for the kind of interest-balancing in which Friedman and Wilson engaged.

      Bruen also made clear how courts should analyze prohibitions on arms. First,

Bruen identified what “Arms” are covered by the text of the Second Amendment:

“[T]he Second Amendment extends, prima facie, to all instruments that constitute

bearable arms, even those that were not in existence at the time of the founding.” Id.

at 2132. “Thus, even though the Second Amendment’s definition of ‘arms’ is fixed

according to its historical understanding, that general definition covers modern

instruments that facilitate armed self-defense.” Id. Under Bruen’s threshold inquiry,

then, it does not matter whether arms “were common at the time of ratification or …

have ‘some reasonable relationship to the preservation or efficiency of a well

regulated militia.’” Friedman, 784 F.3d at 410. Any instrument that facilitates armed

self-defense is “presumptively protect[ed]” by the Second Amendment. Bruen, 142

S.Ct. at 2126.

      To be sure, that presumption is not unrebuttable. But a state may rebut it only

by “affirmatively prov[ing]” that its prohibition is consistent with “historical


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tradition.” Id. at 2127. And when it comes to efforts to ban arms, Bruen identified

what that historical tradition is: “[T]he Second Amendment protects … weapons

that are those ‘in common use at the time,’ as opposed to those that ‘are highly

unusual in society at large.’” Id. at 2143. Lest there be any lingering confusion, the

Court also identified what “time” matters: The Second Amendment protects arms

that are “in common use today,” regardless of whether they would have been

“considered ‘dangerous and unusual weapons’ in the 1690s” or when the Second or

Fourteenth Amendments were ratified. Id. (emphasis added). Once again, then,

Bruen squarely rejects any test based on whether arms “were common at the time of

ratification or … have ‘some reasonable relationship to the preservation or efficiency

of a well regulated militia.’” Friedman, 784 F.3d at 410.

      The first question this Court must ask in analyzing HB 5471 thus is whether

the firearms and magazines it bans “facilitate armed self-defense.” Bruen, 142 S.Ct.

at 2132. If they do, then they are “presumptively protect[ed],” and the state must

prove that they are not “in common use today,” id. at 2126, 2143—i.e., that they are

not “typically possessed by law-abiding citizens for lawful purposes,” District of

Columbia v. Heller, 554 U.S. 570, 625 (2008). If it cannot, then HB 5471 is

unconstitutional. Because neither Friedman nor Wilson employed that analysis, the

results they reached can survive if—and only if—a faithful application of Bruen




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compels the same conclusion. For the reasons discussed below, it compels precisely

the opposite.

      B.        The Firearms and Magazines HB 5471 Bans Are “Arms.”
      The state offers no reason to disturb the district court’s conclusion that the

rifles, pistols, and shotguns HB 5471 bans are “Arms” covered by the text of the

Second Amendment. Indeed, it no longer appears to dispute that those firearms are

“Arms.” See CA7.Stay.Br.8-10 (making no such argument and forfeiting the issue).

      Illinois instead argues only that the ammunition feeding devices (i.e.,

magazines) that HB 5471 bans do not qualify as “Arms.” But Bruen could not be

clearer that “the Second Amendment’s definition of ‘arms’” covers all “modern

instruments that facilitate armed self-defense.” 142 S.Ct. at 2132. Remarkably, the

state never even so much as mentions that definition. Magazines obviously satisfy

it. As one of the state’s own witnesses explained, virtually all modern “pistol[s]”

and rifles “utilize[] a ‘box’ magazine” that “is inserted into the firearm” “to contain

and feed multiple rounds of ammunition” and then is detached and reloaded when

spent. D.Ct.Dkt.37-9 ¶10. These magazines are an integral part of the design

mechanism that makes semiautomatic firearms work. When the trigger is pulled,

the round in the chamber fires, and the semiautomatic action combines with the




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magazine to feed a new round into the chamber. That is why they are called

“ammunition feeding devices.”

      That readily distinguishes magazines from the kinds of non-functional

“accessories” to which the state tries to analogize, “like cartridge cases and boxes.”

Stay.Br.8-9. A cartridge box is just that—a box that holds cartridges. The box itself

is not inserted into the firearm to facilitate its use for self-defense. To be sure,

magazines may not have “offensive or defensive uses” when they are not inserted

into a firearm. Stay.Br.9. But the same could be said of just about every component

of a firearm. Triggers, barrels, and firing pins are of little use by themselves. Yet

they are no less important to the design and functioning of a firearm than an engine

or transmission is to a car. If all of these integral components were “accessories”

entitled no protection at all, Stay.Br.8-9, then a state could ban the whole by the sum

of its parts, rendering the Second Amendment meaningless.

      The state’s argument makes particularly little sense given that HB 5471 bans

not just detachable magazines, but “fixed magazines” as well. See 720 ILCS 5/24-

1.9(a)(1)(B); 720 ILCS 5/24-1.10(a). Illinois did not even argue below that firearms

with fixed magazines somehow cease to be “arms.” Nevertheless, it now asserts that

they too deserve no protection because “fixed magazines … are not necessary to

operate any firearm as designed.” Stay.Br.9. That is both wrong and beside the

point. Firearms with unremovable feeding devices cannot be fired if the fixed


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magazine is removed. Indeed, one of the state’s own witnesses confirmed that fixed

magazines cannot be removed from a firearm without rendering it inoperable as a

firearm—i.e., as an instrument of self-defense. D.Ct.Dkt.37-7 ¶22.

      In all events, the state has the law wrong again. “[T]he Second Amendment’s

definition of ‘arms’” covers all “modern instruments that facilitate armed self-

defense,” not just components that are “necessary” to (state-favored) firearms. 142

S.Ct. at 2132 (emphasis added). And rightly so, for if the Second Amendment

protected only those arms or components that are essential to self-defense, there

would be virtually no limit to what the government could ban. A firearm equipped

with a 15- or 30-round magazine is equally capable (indeed, more so) of facilitating

armed self-defense as one equipped with a 10-round magazine, regardless of whether

that magazine is detachable or fixed, and regardless of how frequently people expend

more than 10 or 15 of those rounds for self-defense. The state thus identifies no

reason to disturb the district court’s conclusion that the magazines HB 5471 bans are

“arms.”

      C.      The Firearms and Magazines HB 5471 Bans Are In Common Use.
      Because the firearms and feeding devices HB 5471 bans easily fit “the Second

Amendment’s definition of ‘arms,’” the state bears the burden of proving that they

may be banned “consistent with this Nation’s historical tradition of firearm

regulation.” Id. at 2126, 2132. The district court correctly concluded that the state



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is exceedingly unlikely to meet that burden. D.Ct.Dkt.101 at 22-24. The Supreme

Court has already determined which “arms” may be banned consistent with

“historical tradition”: those that are not “in common use today,” but rather are

“highly unusual in society at large.” Id. at 2143. If—and only if—arms are “highly

unusual” today can they fall within the historical tradition of prohibitions on

“dangerous and unusual” arms. Id. (emphasis added). The only question after Bruen

is whether the state has proven that the arms it has banned are not “typically

possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625.

      That makes this an easy case, for the arms HB 5471 bans are the furthest thing

from “highly unusual.” HB 5471 bans all AR-platform rifles, by both feature and

name. 720 ILCS 5/24-1.9(a)(1)(A), (B), (J). Recent estimates indicate that millions

of Americans collectively own more than 24 million of these rifles. Op.23; William

English, PhD, 2021 National Firearms Survey: Updated Analysis Including Types of

Firearms Owned 2 (May 13, 2022), https://bit.ly/3HaqmKv; NSSF, Commonly

Owned: NSSF Announces Over 24 Million MSRs in Circulation (July 20, 2022),

https://bit.ly/3zKDFh4. That exceeds by a considerable measure the number of Ford

F-150s, America’s most popular automobile, in the country. See Brett Foote, There

Are Currently 16.1 Million Ford F-Series Pickups on U.S. Roads, Ford Auth. (Apr.

9, 2021), https://bit.ly/3GLUtaB.




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      That should come as little surprise. The Supreme Court recognized nearly

three decades ago that “AR-15 rifle[s]” are “widely accepted as lawful possessions.”

Staples, 511 U.S. at 603, 612. And “the numbers have been steadily increasing”

since then. Miller v. Bonta, 542 F.Supp.3d 1009, 1020, 1022 (S.D. Cal. 2021),

vacated and remanded, 2022 WL 3095986 (9th Cir. Aug. 1, 2022). “In 2018

alone[,] … 1,954,000 modern rifles were manufactured or imported into the United

States.” Id. at 1022. A product lawfully owned by millions of Americans—and 20%

of all gun owners, see Wash. Post Staff, Sept. 30-Oct. 11, 2022, Washington Post-

Ipsos poll of AR-15 owners (Mar. 26, 2023), https://wapo.st/3KrUouy—is plainly

not “highly unusual in society at large.”

      Moreover, HB 5471 does not stop with AR-platform rifles, or even rifles. See

supra pp.3-5. And while the other types of firearms it bans may not be quite as

ubiquitous as AR-platform rifles, the state has not even tried to meet its burden of

proving that they are uncommon. See, e.g., Ben Johnson, ATF announces pistol

brace ban affecting millions of gun owners, Salem News Online (Jan. 31, 2023),

bit.ly/42gPhEN (explaining that private ownership of “pistol braces,” which are

most commonly used for the types of pistols HB 5471 bans, is estimated to be around

10 to 40 million); 86 Fed. Reg. 30,826, 30,845-46 (2021) (ATF estimate that 3 to 7

million stabilizing braces, designed for and commonly used with AR-style pistols,

were sold between 2013 and 2020); Phil Bourjaily, The Best Duck Hunting Shotguns


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of 2023, Field & Stream (Mar. 20, 2023) https://bit.ly/42nqTBX (listing multiple

shotguns banned by HB 5471). In short, far from committing any clear error, the

district court was eminently correct to conclude that the ubiquitous arms HB 5471

bans are common.

      The same goes for the ammunition feeding devices HB 5471 bans.

Conservative estimates are that Americans own more than 100 million magazines

that hold more than 10 rounds. See English, supra, at 24 (estimating 269 million

such handgun magazines and another 273 million such rifle magazines); NSSF,

Firearm Production in the United States 7 (2020), https://bit.ly/3NUM7ma; Duncan

v. Becerra, 970 F.3d 1133, 1148 (9th Cir. 2020); Kolbe v. Hogan, 849 F.3d 114, 129

(4th Cir. 2017) (en banc). And recent industry data indicates that 75% of modern

rifle magazines in the United States have a standard capacity of more than 10 rounds.

NSSF, Modern Sporting Rifle Comprehensive Consumer Report (July 14, 2022),

https://bit.ly/3GLmErS.   Likewise, many of the most popular handguns come

standard with 15+ round magazines. D.Ct.Dkt.10 at 16-17. The magazines HB 5471

bans are thus even more ubiquitous than the firearms it bans.

      The district court also correctly concluded that the state is highly unlikely to

prove that the common arms HB 5471 bans are not commonly owned “for lawful

purposes,” Heller, 554 U.S. at 625. D.Ct.Dkt.101 at 22. Of course, these arms can

be used to perpetrate horrific crimes, see Stay.Br.15-16, just as any modern firearm


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can. But that has nothing to do with the relevant legal question—i.e., whether they

are “typically possessed by law-abiding citizens for lawful purposes.” Heller, 554

U.S. at 625 (emphasis added). On that question, the record is undisputed and

indisputable: Purchasers consistently report that self-defense, hunting, and sport

shooting are the most important reasons why they buy rifles on the AR-15 platform.

NSSF, 2021 Firearms Retailer Survey Report at 7, https://bit.ly/3CXJwC1 (last

visited May 9, 2023); English, supra, at 23. That is unsurprising; the features Illinois

singles out are self-evidently beneficial for personal self-defense—the raison d’être

of the Amendment. Indeed, the state contends that it may ban the arms HB 5471

prohibits precisely because they increase “sustained accuracy during rapid fire.”

Stay.Br.10. As the district court explained, “the ‘meaningful exercise’ of the right to

armed self-defense is wholly dependent on the ability of citizens to utilize their arms

and hit their intended target.” D.Ct.Dkt.101 at 29.

      Unable to demonstrate that the arms it has banned are not “typically possessed

by law-abiding citizens for lawful purposes,” Heller, 554 U.S. at 625, the state tries

to change the subject. It insists that these arms are “not commonly used for personal

self-defense,” Stay.Br.10 (emphasis added), by which it apparently means firing a

particular firearm or emptying an entire magazine when confronted by an assailant.

In the state’s view, “the people” have no right to keep a firearm for self-defense

unless they often shoot attackers with it, and they have no right to keep a magazine


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above a certain capacity unless they frequently fire that many rounds in self-defense.

Stay.Br.10-11. By that logic, the state could seemingly ban arms entirely, as most

people fortunately never have to fire their firearms for self-defense at all. Indeed,

even people who confront a self-defense situation often manage to ward off the

attack merely by brandishing a firearm. See English, supra, at 14 (“[I]n the vast

majority of defensive gun uses (81.9%), the gun was not fired.”).

      Unsurprisingly, that is not the law. As Bruen reiterated, the people are entitled

to keep and bear arms “‘for the purpose … of being armed and ready for offensive

or defensive action in a case of conflict with another person.’” 142 S.Ct. at 2134

(ellipses in original; emphasis added) (quoting Heller, 554 U.S. at 584). That

fundamental right does not turn on how frequently people actually confront such

situations or how many rounds they typically fire when they do. Indeed, Bruen

squarely rejected the idea that a state may restrict Second Amendment rights based

on whether it thinks people really “need” to exercise them. See id. at 2156. Simply

put, “the very enumeration of the right takes out of the hands of government … the

power to decide on a case-by-case basis whether the right is really worth insisting

upon.” Id. at 2129 (quoting Heller, 554 U.S. at 634).

      D.     There Is No Historical Tradition in This Country of Banning These
             Ubiquitous Arms.

      The Court can and should end its analysis there. “[T]he traditions of the

American people … demand[] our unqualified deference,” id. at 2131, and that


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tradition is that law-abiding citizens may possess arms that are commonly possessed

for self-defense. That is the historical test—i.e., the key inquiry under Bruen—and

it forecloses the state’s effort to ban these common arms. After all, a state may not

prohibit what the Constitution protects, even if what the Constitution protects is

dangerous or capable of abuse.

      Rather than engage with what Bruen said about bans on arms, the state renews

its argument that the district court should have deployed the “more nuanced”

historical approach reserved for laws that respond to “dramatic technological

changes” or “unprecedented societal concerns.” Stay.Br.13-17. But Bruen already

squarely rejected that argument when it comes to restrictions on particular types of

arms. As the Court explained, even if a state could identify historical “laws[ that]

prohibited the carrying of handguns because they were considered ‘dangerous and

unusual weapons’” at the time, that would “provide no justification for laws

restricting the public carry of weapons that are unquestionably in common use

today.” Bruen, 142 S.Ct. at 2143 (emphasis added). That makes sense: The test

Bruen prescribes for protected arms already accounts for technological and social

change by ensuring that the Second Amendment’s protection extends to all firearms

that are common in society at the time the analysis is conducted.

      In all events, the state has identified neither a “dramatical technological

change” nor an “unprecedented societal concern.” The arms Illinois has banned are


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no novelties. “[T]he first firearm that could fire more than ten rounds without

reloading was invented around 1580.” Duncan, 970 F.3d at 1147. Even narrowing

the lens to semiautomatics equipped with detachable magazines and features like a

pistol grip, these too have been around for over a century. Indeed, one of the firearms

Illinois has identified as prohibited by HB 5471 is the Broomhandle, which dates

back to 1896. See D.Ct.Dkt.37-3 Ex.A at 8; Duncan, 970 F.3d at 1148. Yet before

“the 1990’s, there was no national history of banning weapons because they were

equipped with furniture like pistol grips, collapsible stocks, flash hiders, … or barrel

shrouds.” Miller, 542 F.Supp.3d at 1024.

      The earliest laws treating such features as sufficient to convert an otherwise-

lawful firearm into a so-called “assault weapon” date back to only 1989, and the

earliest restriction on magazine capacity dates back only to 1990, which is far too

late to serve as an indicator of “historical tradition.” Bruen, 142 S.Ct at 2126. And

even today, such laws remain rare; the arms Illinois has banned are legal in (at least)

40 states, and the magazines are legal in (at least) 35. As for the federal government,

it did not restrict semiautomatic arms, firing capacity, or magazine capacity until

1994. See Pub. L. No. 103-322, 108 Stat. 1796 (1994). And Congress allowed that

law to expire in 2004 after a Justice Department study revealed that it had produced

“no discernable reduction” in violence committed with firearms. Christopher S.

Koper et al., An Updated Assessment of the Federal Assault Weapons Ban: Impacts


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on Gun Markets & Gun Violence, 1994-2003, Rep. to the Nat’l Inst. of Justice, U.S.

Dep’t of Justice 96 (2004), available at https://bit.ly/3wUdGRE.

      The state is thus forced to resort to laws restricting fully automatic firearms.

Stay.Br.5-6, 14.   But the historically divergent treatment of automatic versus

semiautomatic firearms only undercuts the state’s case. While many states and the

federal government began restricting fully automatic firearms during the Prohibition

Era, only a handful of states and D.C. imposed any restrictions on semiautomatic

arms—and most were repealed outright or replaced with laws regulating only

machine guns. Duncan, 970 F.3d at 1150 & n.10. That is particularly notable

because semiautomatic arms had been on the civilian market for decades before

anyone tried to market automatic firearms to civilians. In fact, unlike automatics,

semiautomatic arms were civilian arms from the start. See Nicholas J. Johnson, et

al., Firearms Law and the Second Amendment, 463, 519 (2d ed. 2018). Yet while

more than a dozen states banned automatic arms within only a couple years of their

entry onto the civilian market in the 1920s, very few ever restricted semiautomatic

arms, and none tried to ban the most popular ones.

      Simply put, there is no enduring American tradition of banning any kinds of

semiautomatic firearms or feeding devices. To the contrary, the enduring American

tradition is one of protecting the right of law-abiding citizens to possess firearms

that, like semiautomatic rifles and pistols equipped with common features such as


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detachable magazines, pistol grips, and thumbhole stocks, are “typically possessed

by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 624-25. Because

Illinois cannot “affirmatively prove that its firearms regulation is part of the

historical tradition that delimits the outer bounds of the right to keep and bear arms,”

Bruen, 142 S.Ct. at 2127, the district court correctly concluded that HB 5471 likely

violates the Second Amendment.

II.   The Remaining Factors All Favor Leaving the District Court’s Status-
      Quo-Preserving Injunction In Place.

      As one would expect in a contest between law-abiding citizens’ ability to

exercise constitutional rights and the state’s interest in enforcing a novel restriction

on those recently reaffirmed rights, the remaining factors strongly favor leaving the

district court’s status-quo-preserving injunction in place. The district court was

plainly correct to conclude that HB 5471 is causing Plaintiffs irreparable harm, as it

is the square law of this Circuit that “[i]nfringements of” “the right to possess

firearms for protection” inflict irreparable injury. Ezell v. City of Chicago, 651 F.3d

684, 699 (7th Cir. 2011). The state argues that those constitutional injuries do not

matter because Plaintiffs could use other weapons for self-defense. Stay.Br.18. But

Heller expressly rejected the argument “that it is permissible to ban the possession

of [one type of protected firearm] so long as the possession of other firearms … is

allowed.” 554 U.S. at 629. And while the state complains that the district court “did

not meaningfully explain why a damages award could not make the businesses


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whole” from lost sales due to HB 5471, Stay.Br.19, the explanation is obvious:

Economic injuries are irreparable when, as here, the defendants have Eleventh

Amendment immunity. The state tellingly nowhere suggests that it would waive that

immunity and pay Plaintiffs who suffer such injuries on account of a stay should HB

5471 ultimately be held unconstitutional. Finally, HB 5471 tramples on fundamental

constitutional rights, and it is always in the public interest to prevent the violation of

constitutional rights. The state has no answer for that black-letter law.

III.   This Court Should Expedite The Appeal.
       While the state has identified no reason to stay the district court’s injunction

for the duration of its appeal, if this Court is nevertheless inclined to grant that relief,

it should at the very least substantially expedite this appeal. Indeed, Plaintiffs urge

the Court to expedite this appeal either way, on a schedule that will allow argument

to occur alongside argument in Bevis v. City of Naperville, No. 23-1353, which also

challenges HB 5471’s constitutionality. The state has demonstrated that it is perfectly

capable of briefing this case on an expedited basis, as it filed its emergency stay

motion a mere two business days after the district court’s injunction issued, and it has

already fully briefed the issues in Bevis. Yet while Plaintiffs immediately approached

the state about expedition, and offered to brief this case as expeditiously as necessary

to ensure that this Court can consider it alongside Bevis, the state has yet to commit

to any expedition at all. Plaintiffs thus urge the Court to enter an expedited briefing



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schedule no matter how it resolves the state’s stay motion, but the better course would

be to leave the district court’s status-quo-preserving injunction in place pending that

expedited appellate consideration.

                                   CONCLUSION
       For the foregoing reasons, the Court should deny Defendants’ motion.

                                                Respectfully submitted,

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  May 9, 2023


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                      CERTIFICATE OF COMPLIANCE
                     WITH TYPE-VOLUME LIMITATION

      I hereby certify that:

      1. This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 5,200 words, excluding the parts of the motion

exempted by Fed. R. App. P. 32(f).

      2. This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the typestyle requirements of Fed. R. App. P. 32(a)(6) because it has

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May 9, 2023

                                                  s/Erin E. Murphy
                                                  Erin E. Murphy
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                          CERTIFICATE OF SERVICE
      I hereby certify that on May 9, 2023, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Seventh Circuit

by using the CM/ECF system. I certify that all participants in this case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.

                                                     s/Erin E. Murphy
                                                     Erin E. Murphy
